




NO. 07-03-0225-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



SEPTEMBER 12, 2003



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IN THE MATTER OF J.R.



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FROM THE 279TH DISTRICT COURT OF JEFFERSON COUNTY;



NO. F-9238-J; HONORABLE TOM MULVANEY, JUDGE



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Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION

Pending before this Court is appellant’s motion to dismiss his appeal. &nbsp;
See
 Tex. R. App. P. 42.1(a)(1). &nbsp;The motion is also signed by appellee. &nbsp;No decision of this Court having been delivered to date, we grant the motion. &nbsp;No motion for rehearing will be entertained and our mandate will issue forthwith.

Accordingly, the appeal is dismissed.

Don H. Reavis

 &nbsp;&nbsp;&nbsp;Justice




